UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK

                                              )
 IN RE:                                       )   Chapter 11
                                              )
 ROCHESTER DRUG CO-OPERATIVE, INC.,           )   Case No. 20-20230 (PRW)
                                              )
                             Debtor.          )
                                              )


 RENEWED MOTION FOR ENTRY OF AN ORDER APPROVING A SETTLEMENT
 AGREEMENT AND RELEASES BETWEEN THE RDC LIQUIDATING TRUST AND
  HISCOX INSURANCE COMPANY, INC. PURSUANT TO RULE 9019(a) OF THE
            FEDERAL RULES OF BANKRUPTCY PROCEDURE




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         Advisory Trust Group, LLC (the “Trustee”), solely in its capacity as Trustee of the RDC

Liquidating Trust (the “Trust”) hereby moves for entry of an order pursuant to Rule 9019(a) of

the Federal Rules of Bankruptcy Procedure approving that certain Amended Settlement

Agreement and Releases (the “Amended Settlement Agreement”) entered into by the Trustee,

on the one hand, and Hiscox Insurance Company, Inc. (“Hiscox”), on the other hand. The

Trustee and Hiscox are referred to collectively as the “Parties.” A settlement among the Parties

was previously the subject of objections by certain former directors of the Debtor (the

“Objecting Directors”).1 Following further negotiations, the Parties have agreed to the within

Amended Settlement Agreement that is identical to the redline form of agreement proposed by

the Objecting Directors and submitted to the Court by letter dated July 22, 2022.

         In support of this Motion, the Trustee respectfully states as follows:

                                    PRELIMINARY STATEMENT

         1.       The Trustee seeks approval of the settlement of an insurance coverage action (the

“Coverage Action”), initially commenced by Rochester Drug Co-operative Inc. (the “Debtor”

or “RDC”) against Hiscox to recover under a directors and officers insurance policy issued by

Hiscox (the “Policy”) for expenditures incurred by RDC in connection with various

investigations and actions related to RDC’s sale of opioids. In January 2022, the Trustee and

Hiscox participated in a mediation in an attempt to resolve the Coverage Action. As a result of

that mediation, the Parties negotiated a settlement that, among other things, provided for a cash

payment of $3.4 million to the Trust in exchange for a release of all claims.

         2.       In November 2022, the Court denied without prejudice the Trustee’s request for

approval of a form of settlement that was objectionable by the Objecting Directors. The Court


1
 The Objecting Directors are the following former directors of RDC: Joseph Lech, Boris Mantell, Joseph Scott
Miskovsky, Garry Mrozek, Sherwood Klein, Paul Pagnotta, Stephen Giroux, Richard Klenk, and Donald Arthur.

                                                       1
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accepted that the settlement agreement was beneficial to the estate, entered into after arms’

length negotiations, and a proper exercise of the Trustee’s business judgment. After further

negotiations between the Trustee and Hiscox, the Parties have agreed to the Amended Settlement

Agreement that provides for payment of $3.4 million to the Trust, with releases limited to the

Parties, and all objectionable provisions eliminated from the agreement. The Amended

Settlement Agreement is now identical to the form of agreement sought by the Objecting

Directors,2 and the settlement amount is identical to the original terms.

         3.       The amount of the settlement, the risk of litigation, and the benefit to the Trust

and its beneficiaries amply support approval of the settlement pursuant to Fed. R. Bankr. P. 9019

and the terms of the Plan. The Trustee further submits that the Amended Settlement Agreement

comports with the terms of the Policy and with the demands and rights of the Objecting

Directors.

                                             JURISDICTION

         4.       The Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and

1334. The matter is a core proceeding pursuant to 28 U.S.C. § 157(b).

         5.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         6.       In addition, the Court retained jurisdiction over this chapter 11 case under section

10.13 of the Second Amended Chapter 11 Plan of Liquidation [Docket No. 1145] (the “Plan”) to

the fullest extent permitted by law, including any action to determine any motion, contested

matter, or other litigated matter pending on or after the confirmation date.




2
 A copy of the signed Amended Settlement Agreement is attached to the Declaration of Robert Michaelson, filed
herewith, as Exhibit A.

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                                    FACTUAL BACKGROUND

A.       The Bankruptcy Case

         7.       On March 12, 2020 (the “Petition Date”), RDC filed a voluntary petition in this

court (the “Bankruptcy Court”) for relief under chapter 11 of the Bankruptcy Code. Prior to

filing its chapter 11 case, RDC was a distributor of pharmaceutical drugs.

         8.       On February 26, 2021, the Plan was confirmed by the Bankruptcy Court pursuant

to its Decision and Order and Findings of Fact and Conclusions of Law Confirming Second

Amended Chapter 11 Plan of Liquidation [Docket No. 1256] (the “Confirmation Order”).

         9.       Pursuant to the Plan, the Confirmation Order, and that certain Liquidating Trust

Agreement and Declaration of Trust (as attached to the Plan, the “Trust Agreement”), the

Trustee succeeded to the rights of RDC and retains the exclusive right, power and interest to

pursue, commence, prosecute, compromise, settle, and dismiss causes of action belonging to the

Debtor.

         10.      Pursuant to section 5.6 of the Plan, the Trustee may settle causes of action

“without supervision or approval of the Bankruptcy Court and free from any restrictions of the

Bankruptcy Code or Bankruptcy Rules, other than restrictions expressly imposed by the Plan and

Confirmation Order.” Notwithstanding such provision, Hiscox has requested an order approving

the Amended Settlement Agreement described below, and the Trustee has agreed to seek such an

order.

B.       The Insurance Policy, Investigations, and Actions

         11.      Hiscox issued that certain Private Company Management Liability Insurance

Policy (No. UVA1901769.17) to RDC for the policy period of March 8, 2017 through March 8,

2018 (the aforementioned “Policy”). As is pertinent here, the Policy includes a Directors &

Officers Liability Coverage Part (the “D&O Coverage”), subject to a $5,000,000 limit of

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liability and a $25,000 retention. Pursuant to Endorsement No. 17, the Policy provides for an

additional $1,000,000 in Defense Costs incurred in excess of the retention. Additionally,

pursuant to Item 6(c) of the Policy’s Declarations and Section V of the D&O Coverage, as both

are amended by Endorsement No. 3, the Policy provides a $1 million Additional Executive Limit

of Liability.3

           12.      RDC provided notice to Hiscox of, and sought coverage under the Policy for,

various investigations and actions as follows:

                    a.       RDC provided notice to Hiscox of, and sought coverage under the Policy
                             for, defense costs incurred in connection with over thirty one (31) civil
                             actions regarding RDC’s sale of opioids, which actions were brought by
                             the State of New York and numerous counties, cities, and towns in New
                             York (the “NY Opioid Actions”).

                    b.       RDC provided notice to Hiscox of, and sought coverage under the Policy
                             for, defense costs incurred in connection with an investigation by the
                             United States Drug Enforcement Agency and/or other agencies of the
                             United States government into potential civil liability arising out of RDC’s
                             sale of opioids (the “Civil Investigation”), which ultimately resulted in
                             the Department of Justice initiating an action captioned United States of
                             America v. Rochester Drug Co-operative, Inc., Case No. 1:19-cv-03568-
                             LAK (S.D.N.Y.) (the “Civil Action”).

                    c.       RDC provided notice to Hiscox of, and sought coverage under the Policy
                             for, defense costs incurred in connection with an investigation by the
                             United States Attorney, the United States Department of Justice, the
                             United States Drug Enforcement Agency, and/or other agencies of the
                             United States government, into actual or alleged criminal activity arising
                             out of RDC’s sale of opioids (the “Criminal Investigation”), which
                             ultimately resulted in the Department of Justice initiating an action
                             captioned United States of America v. Rochester Drug Co-operative, Inc.,
                             Case No. 1:19-cr-00290-NRB (S.D.N.Y.) (the “Criminal Action”).

           13.      Prior to the Petition Date, RDC filed a civil action against Hiscox captioned

Rochester Drug Co-operative, Inc. v. Hiscox Insurance Company, Inc., Case No. 6:20-cv-6025




3
    A true and correct copy of the Policy is attached to the Michaelson Declaration as Exhibit B.

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(W.D.N.Y.) (the “Coverage Action”), seeking a declaration of coverage for the NY Opioid

Actions and the Civil Investigation.

         14.      After the Petition Date, in November 2020, RDC’s former Chief Executive

Officer, Laurence F. Doud, III (“Doud”) filed a motion for relief from the automatic stay to

obtain an advance of costs under the Policy in connection with defense costs incurred by him as

a result of his criminal indictment (the “Doud Indictment”) captioned United States of America

v. Laurence F. Doud III, Case No. 19-cr-285 (S.D.N.Y.)(the “Criminal Case”). See Docket No.

922.

         15.      By its Decision and Order, entered March 22, 2021 [Docket No. 1303], the Court

denied relief from stay for Doud to obtain an advance under the Policy in connection with the

Doud Indictment. However, in the exercise of its discretion, the Court permitted limited relief to

allow Doud to intervene in the Coverage Action or seek direct payment from Hiscox solely

under the Additional Executive Limit of Liability set out in Endorsement No. 3 of the Policy.

Doud did not intervene in the Coverage Action.

         16.      On February 2, 2022, Doud was convicted by a jury in the Criminal Case of one

count of narcotics conspiracy and one count of conspiracy to defraud the United States. See

Criminal Case Docket entry dated February 2, 2022; see also Gary Craig, Former Rochester

Drug CEO Laurence Doud Convicted of Opioid Trafficking in Historic Case, Rochester

Democrat & Chronicle (Feb. 3, 2022).

C.       The Amended Settlement Agreement

         17.      In April 2022, the Trustee filed a motion [Docket Nos. 1585-87] to authorize

approval of the settlement that included certain provisions that were deemed objectionable by the

Objecting Directors, such as exhaustion provisions and an order barring further claims under the

Policy to the extent permitted by law. The Objecting Directors objected to the motion [Docket

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Nos. 1608, 1610, 1611], the hearing was adjourned, and the matter was scheduled for a

chambers’ conference on July 26, 2022.

         18.      On July 19 and July 22, 2022, in advance of the chambers conference, the Trustee

and the Objecting Parties respectively submitted letters to the Court regarding proposed changes

to potentially resolve the pending objections. The Objecting Parties sought certain additional

changes to the form of settlement as reflected in a redline submitted therewith. The Parties were

unable to reach agreement with the Objecting Directors and the matter was ultimately set for

hearing.

         19.      On November 1, 2022, the Court entered an oral decision denying without

prejudice approval of the Trustee’s settlement motion for reasons set forth on the record. The

Court expressed concern regarding paragraph 7 of the agreement insofar as an exhaustion and

termination of rights under the Policy applied to all “Insureds,” subject an exception for claims

under the Additional Executive Limit, potentially compromised the independent rights of

directors to proceeds under the Policy.4 The Court noted approvingly that the requested edits by

the Objecting Directors appeared to make clear that the directors’ contractual rights under to the

policy, to the extent they have any, and property rights, to the extent they have any, “are not part

and parcel of the settlement.”5 Furthermore, absent any impairment of the Objecting Directors’

contractual rights, the settlement is in the best interest of the estate under the Iridium factors.6

         20.      The Trustee and Hiscox have engaged in further settlement discussions and,

subject to the Bankruptcy Court’s approval, are now prepared to enter into the accompanying



4
  See 11/1/22 Hearing Transcript, pp. 22-23, lines 25 - 3 (“[T]his Court finds that the proposed settlement agreement
between the Trustee and Hiscox is affecting, or may affect, the rights of the directors in policy proceeds or
contractual rights beyond the estate’s interest.”), attached as Exhibit 1 to the Declaration of Ilan Scharf.
5
  Id. at p. 14, lines 7-13. In response to the Court’s inquiry, counsel for certain Objecting Directors confirmed that
the proffered redline would be acceptable. Id. at p. 15, lines 13-19.
6
  Id. at p. 21, lines 16-18.

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Amended Settlement Agreement (Exhibit A to Michaelson Decl.) that is identical to the form

previously proffered by the Objecting Directors. The salient terms of the Amended Settlement

Agreement are described below for descriptive purposes only and interested parties should refer

to the complete agreement and its terms.

         21.      The Amended Settlement Agreement is a compromise, settlement, and mutual

releases between the Parties to resolve all current and future claims in any way arising out of or

relating to: the N.Y. Opioid Actions, the Civil Investigation, the Criminal Investigation, the Civil

Action, the Criminal Action, and/or the Coverage Action (collectively, the “Released Claims”).

         22.      Settlement Payment. Pursuant to the Amended Settlement Agreement, and

subject to certain conditions precedent, Hiscox will pay $3.4 million to the Trust, as successor to

the Debtor pursuant to and in accordance with the terms of the Plan, in exchange for mutual

agreements and releases.

         23.      Conditions Precedent. Conditions precedent to the settlement include execution

of the Amended Settlement Agreement, an order by the Bankruptcy Court approving the

Amended Settlement Agreement, production to Hiscox of invoices for all defense costs incurred

in connection with certain actions, payment instructions, and an executed W-9 form. The Trustee

has agreed to bring this motion and seek an order approving the Amended Settlement Agreement

at the request of Hiscox and notwithstanding that the Plan provisions allow settlement of claims

without further supervision or court approval.

         24.      Releases. Pursuant to paragraphs 5 and 6 of the Amended Settlement Agreement,

the Parties will enter mutual releases. The Objecting Directors are not Parties to the Amended

Settlement Agreement and are not releasees or releasors. The Trustee, on behalf of the Debtor

and the estate and all agents thereof, releases Hiscox from all actual or potential claims arising



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out of the Released Claims, the facts or circumstances alleged or at issue therein, and/or the

Policy. Likewise, Hiscox releases the Trustee from all actual or potential claims arising out of

the Released Claims, the facts or circumstances alleged or at issue therein, and/or the Policy.

However, the releases do not affect the Parties’ rights and obligations under the Amended

Settlement Agreement.

         25.      Consistent with comments by the Court, paragraph 7 of the Amended Settlement

Agreement only terminates and exhausts the rights of the Trustee and RDC under the Policy, and

does not affect the rights of any other insureds, including the Objecting Directors. Furthermore,

paragraph 7 specifically states that the $1 million Additional Executive Limit under the Policy’s

Directors & Officers Liability Coverage Part shall remain available for payment of any Loss in

accordance with the terms of the Policy.

         26.      The Trustee has reviewed the Amended Settlement Agreement and is familiar

with the Coverage Action, the NY Opioid Actions, the Criminal Action, as well as the preceding

Civil Investigation and Criminal Investigation. Giving full consideration to the costs and risks of

litigation and the benefits of the settlement, the Trustee believes that the Amended Settlement

Agreement satisfies the paramount interests of RDC’s creditors and should be approved by this

Court. See Declaration of Robert Michaelson filed herewith.

                                       RELIEF REQUESTED

         27.      By this motion, the Trustee seeks entry of an order pursuant to section 105(a) of

the Bankruptcy Code and Bankruptcy Rule 9019(a), approving the Amended Settlement

Agreement, and authorizing the Trustee to take all actions necessary or appropriate to effectuate

the Amended Settlement Agreement.




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                                        LEGAL ARGUMENT

         A. The Settlement Is a Reasonable Compromise That Should Be Approved.

         28.      Settlements and compromises are favored and encouraged because they minimize

costs of litigation and further parties’ interest in expediting administration of the bankruptcy

estate. See Motorola, Inc. v. Official Comm. Of Unsecured Creditors (In re Iridium Operating

LLC), 478 F.3d 452, 455 (2d Cir. 2007). Bankruptcy Rule 9019(a) governs the procedure for

seeking approval of settlements, and states in pertinent part: “On motion by the trustee and after

notice and a hearing, the court may approve a compromise or settlement.”

         29.      A bankruptcy court reviews a settlement to determine whether it is supported by

adequate consideration, fair and equitable, and in the best interests of the estate. In re

Ionosphere Clubs, Inc., 156 B.R. 414, 426 (S.D.N.Y. 1993), aff’d 17 F. 3d 600 (2d Cir. 1994)

(citing Protective Committee for Independent Stockholders of TMT Trailer Ferry, Inc. v.

Anderson, 390 U.S. 414, 424 (1968); affirming approval of settlement). The bankruptcy court

does not need to conduct an independent investigation of the reasonableness of a settlement. See

In re McCoy, 496 B.R. 678, 683 (Bankr. E.D.N.Y. 2011) (noting that the court need not rule on

disputed issues of fact and law or “conduct a ’mini-trial’ on the merits of the underlying

litigation”). Rather, the bankruptcy court is only required to determine whether the settlement

“fall[s] below the lowest point in the range of reasonableness.” In re W.T. Grant Co., 699 F.2d

599, 613 (2d Cir. 1983) quoting Newman v. Stein, 464 F.2d 689, 693 (2d Cir. 1972); In re Best

Prods. Co., Inc., 168 B.R. 35, 50-51 (Bankr. S.D.N.Y. 1994), aff’d, 69 F.3d 26 (2d Cir. 1995).

         30.      In the Second Circuit, bankruptcy courts consider the following “interrelated

factors” to assess whether a settlement is fair and reasonable:

               1) the balance between the likelihood of success in the litigation compared to
                  the present and future benefits offered by the settlement;


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                2) the prospect of complex and protracted litigation with its attendant
                   expense, inconvenience, and delay, and the difficulties associated with
                   collection of any judgment;
                3) the paramount interests of the creditors, which includes the relative
                   benefits to be received by members of any affected class and the degree to
                   which creditors either do not object to or affirmatively support the
                   proposed settlement;
                4) the degree to which the settlement is supported by other parties in interest;
                5) the competency and experience of counsel supporting the settlement and
                   the experience and knowledge of the bankruptcy court judge reviewing the
                   settlement;
                6) the nature and breadth of releases to be obtained by officers and directors;
                   and
                7) the extent to which the settlement is the product of arm's length
                   bargaining.
In re Iridium Operating LLC, 478 F. 3d 452, 462 (2d Cir. 2007). See also In re Worldcom, Inc.,

347 B.R. 123, 127 (Bankr. S.D.N.Y. 2006).

          31.      The Amended Settlement Agreement satisfies the fair and reasonable standards

under the Iridium factors. Here, the Amended Settlement Agreement resolves all issues between

the Trustee and Hiscox, prevents what could otherwise be long and protracted litigation, avoids

litigation risk to the Trust and its beneficiaries, and is in the best interests of creditors and the

estate.

          B. The Policy Is Property of the Estate and the Settlement Does Not Adversely
             Affect Any Independent Rights of Additional Insureds.

          32.      There is no dispute that insurance policies are property of the bankruptcy estate.

See, e.g., In re Quigley Co., 676 F3d 45, 53 (2d Cir 2012); Med. Malpractice Ins. Assn. v Hirsch

(In re Lavigne), 114 F.3d 379, 384 (2d Cir. 1997); MacArthur Co. v. Johns-Manville Corp. (In re

Johns-Manville Corp.), 837 F.2d 89, 92 (2d Cir.1988); In re Global Crossing Sec. & ERISA

Litig., 225 F.R.D. 436, 463 (S.D.N.Y. 2004). Additionally, when, as here, the insurance policy

includes “entity coverage,” courts have held that the proceeds of the insurance policy are also


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property of the debtor’s estate. See In re Adelphia Communications Corp., 364 B.R. 518, 526

(Bankr. S.D.N.Y. 2007).

         33.      Citing to In re Adelphia Communications Corp. and In re SoyNut Butter Co., the

Court declined to approve the terms of an earlier settlement based on concerns that the

agreement adversely impacted the independent rights of additional insureds. In Adelphia

Communications Corp., the bankruptcy court reviewed a proposed settlement between the debtor

and its D&O insurers under Bankruptcy Code section 363 and Rule 9019 where the debtor

agreed to receive $32.5 million in exchange for a sale of its interests under the insurance policies

and a channeling injunction that would prohibit any other insured from asserting claims against

the insurers, while directing such claims to the estate. Judge Gerber denied settlement approval

without prejudice based strictly on the proposed channeling injunction. Id. at 521, 528-30.

There was “nothing wrong with a settlement that happened to give Adelphia a head start in

getting policy proceeds that might otherwise be claimed by the Objectors” (id. at 520) in light of

the fact that the debtor and directors held independent claims on a “first-come, first-served basis”

(Id. at 527).7 By contrast, a channeling injunction would “proscribe litigation between two non-

debtor entities, with respect to independent contractual rights they have against each other.” Id.

at 528. The channeling injunction was impermissible under Second Circuit authority and third-

party release standards. Id. at 529.

         34.      In SoyNut Butter Co., 2018 Bankr. LEXIS 2300 (Bankr. N.D. Ill. Aug. 1, 2018),

the bankruptcy court similarly rejected a settlement with insurers that sought to enjoin

independent and non-derivative claims by additional insureds under an insurance policy. Id. at


7
 See also In re Adelphia Communications Corp., 364 B.R. at 527 (“The Objectors’ entitlements, if any, to policy
proceeds are not to the Estate’s recovery of policy proceeds, but rather to whatever proceeds are available when any
of the Objectors makes a request – even if that is only what is left after the Estate gets whatever policy proceeds to
which the Estate is entitled.”) (emphasis in original).

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*8-9 (denying approval of settlement that enjoined future claims by additional insureds). See

also In re Caesars Enter. Operating Co., Inc., 533 B.R. 714, 734-35 (Bankr. N.D. Ill. 2015)

(denying injunction of litigation against debtor’s parent company where the parent company held

independent rights to policy proceeds).

         35.      In this case, the Trustee and Hiscox have settled all claims arising between them

relating to the N.Y. Opioid Actions, the Civil Investigation, the Criminal Investigation, the Civil

Action, the Criminal Action, and/or the Coverage Action. The Amended Settlement Agreement

does not purport to prohibit litigation or channel claims by other insureds, including, for

example, by means of a bar order provision. As with In re Adelphia Communications, the

Trustee in its capacity as successor to RDC was first-in-line to make claims under the Policy.

The Trustee is entitled to negotiate and secure a settlement on behalf of the estate even if that

leaves fewer or no proceeds for other insureds (Adelphia Communications, 364 B.R. at 527),

provided that the Trustee cannot broadly enjoin independent claims or litigation between Hiscox

and the Objecting Directors. The Amended Settlement Agreement satisfies these criteria.

         C. The Settlement Satisfies Each of the Iridium Factors and Should Be Approved.

               (i) The Benefits of the Settlement Are Clear in Light of the Risk That No
                   Coverage Will Be Afforded Under the Policy

         36.      The first Iridium factor considers “the balance between the likelihood of success

in the litigation compared to the present and future benefits offered by the settlement.” Here,

there are risks associated with prosecution of the Coverage Action and, absent certain

circumstances, the benefits of the litigation are likely contractually capped by the Policy limits

plus interest. In fact, there is a possibility that the Policy will not provide coverage for the claims

at issue in the Coverage Action, or for any of the Released Claims. In addition to the litigation

risk, further prosecution of the Coverage Action would incur substantial legal expense and delay.


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The Amended Settlement Agreement maximizes the value of the Policy for the benefit of the

Debtor’s estate by providing an immediate and substantial payment of $3.4 million, which is

more than half of the $6 million limit available to the Debtor, while eliminating the risks and

expense of litigation and trial.

         37.      After initially agreeing to furnish a defense to RDC in connection with the NY

Opioid Litigation, Hiscox denied coverage upon learning of a settlement entered into by RDC

with the United States (the “DOJ Settlement”). The DOJ Settlement, among other things,

resolved any civil claims against the company and deferred the prosecution of any criminal

claims in exchange for the payment by RDC of $20 million. The DOJ Settlement was

subsequently memorialized in a consent judgment entered into by RDC in the Civil Action and a

deferred prosecution agreement entered into by RDC in the Criminal Action.

         38.      Hiscox denied coverage for reasons set forth in the various pleadings in the

Coverage Action. This includes, but is not limited to, the “Illegal Conduct Exclusion” at Section

IV.A.(iv) of the Policy’s D&O Coverage, which Hiscox contends precludes coverage for “Loss

in connection with any Claim made against any Insured … arising out of, based upon or

attributable to the … committing of any deliberate criminal or deliberate fraudulent act, or any

willful violation of any statute, rule or law, if any final adjudication establishes that such

deliberate criminal or deliberate fraudulent act, or willful violation of statute, rule or law was

committed.”

         39.      Hiscox contends that the Illegal Conduct Exclusion bars coverage for all insureds

under the Policy based on certain purported admissions made by RDC in connection with the

Underlying Settlement. Additionally, Hiscox has asserted that Doud’s criminal conviction also

triggers the Illegal Conduct Exclusion, further barring coverage for RDC or Doud under the



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Policy. RDC disputes Hiscox’s coverage position in all respects for reasons also set forth in the

various pleadings in the Coverage Action, including, specifically, the applicability of the Illegal

Conduct Exclusion.

         40.      Despite years of motion practice, discovery has not commenced in the Coverage

Action. As such, even apart from the coverage issues, the Trustee faces considerable expense

related to discovery, potential motions for summary judgment, and trial in the Coverage Action.

Accordingly, the Trustee agreed to participate in mediation, seeking both to limit potential costs

and to eliminate the risks of trial. The Amended Settlement Agreement achieves both objectives

by securing a $3.4 million payment to the estate, the majority of the $6 million available to RDC

under the Policy, despite a strongly contested dispute where Hiscox claims the estate is entitled

to nothing. See Michaelson Declaration, ¶6.

         41.      For the foregoing reasons, the first Iridium factor strongly supports approval of

the Amended Settlement Agreement.

               (ii) The Coverage Action Has Already Proven to Be Both Complex and
                    Protracted, and Does Not Appear to Be Near Resolution Absent the
                    Settlement.

         42.      The second Iridium factor is “the prospect of complex and protracted litigation

with its attendant expense, inconvenience, and delay, and the difficulties associated with

collection of any judgment.” The Coverage Action is clearly complex, involving coverage for

two separate matters, the N.Y. Opioid Actions and the Civil Investigation, as well as numerous

disputed issues as set forth in the pleadings in that action and as discussed above. The Amended

Settlement Agreement is in the best interests of the estate because it avoids what would certainly

be protracted litigation.

         43.      Hiscox contends that, in addition to the Illegal Conduct Exclusion, RDC’s

admissions that it was engaged in ongoing, intentional criminal activity at the time the Policy

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was issued, and that it had notice of the government’s investigation prior to the Policy’s

inception, demonstrate that any Loss (as defined under the Policy) resulting from RDC’s

criminal activity is barred as a matter of law by the “Prior Knowledge Exclusion,” included in

RDC’s application for coverage and incorporated into the Policy by Endorsement No. 6.

         44.      RDC disputes this assertion and that the Prior Knowledge Exclusion precludes

coverage under the Policy. However, because the application of that exclusion likely relies on

facts known to RDC and its employees prior to the issuance of the Policy, it will require

extensive discovery, which would be costly and take a significant amount of time.

         45.      Additionally, even if RDC were to ultimately prevail in the Coverage Action,

Hiscox has repeatedly indicated its intention to appeal the District Court’s interpretation of the

Policy, and previously did appeal the District Court’s order granting a preliminary injunction.

Accordingly, the Coverage Action would not likely be resolved by trial and RDC’s estate would

be subject to further expense, delay, and risk based on appeals if the Amended Settlement

Agreement is not approved.

         46.      For the foregoing reasons, the second Iridium factor strongly supports approval of

the Amended Settlement Agreement.

               (iii) The Amended Settlement Agreement Is Clearly in the Paramount Interests
                     of Creditors.

         47.      The third Iridium factor is “the paramount interests of the creditors, which

includes the relative benefits to be received by members of any affected class and the degree to

which creditors either do not object to or affirmatively support the proposed settlement.” In re

Iridium Operating, LLC, 478 F. 3d at 462.

         48.      As previously discussed, the Amended Settlement Agreement results in a $3.4

million payment for the benefit of creditors as beneficiaries of the Trust, while reducing


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litigation expenses and risks. As noted, those risks include a possibility that the estate will

recover nothing under the Policy, despite protracted and costly litigation. As a result, the Trustee

believes that the Amended Settlement Agreement satisfies the paramount interests of creditors,

and that creditors will fully support the resolution reached by the Parties. Michaelson

Declaration, ¶¶ 6-8.

         49.      For the foregoing reasons, the third Iridium factor strongly supports approval of

the Amended Settlement Agreement.

               (iv) The Form of Amended Settlement Agreement Was Submitted by the
                    Objecting Directors.

         50.      The fourth Iridium factor is “the degree to which the settlement is supported by

other parties in interest.” Id. The current form of the Amended Settlement Agreement was

previously submitted by the Objecting Directors to the Court as their version of acceptable

language. The Trustee notes that no other party previously objected to the proposed settlement.

         51.      Consistent with the Objecting Directors’ concerns, there is no reference to

“Insureds” in the Amended Settlement Agreement, which only governs the rights between the

Parties (i.e., Hiscox and the Trustee). All edits proposed by the Objecting Directors are

incorporated in the Amended Settlement Agreement.

         52.      To the extent that the Objecting Parties complain that the Settlement Agreement

unfairly exhausts the primary $6 million of proceeds available to RDC, the objection should be

overruled. As discussed above, RDC made pre-Petition Date claims against the Policy and is

entitled to recover those proceeds. Hiscox raises numerous grounds to deny coverage altogether

and is only prepared to settle in exchange for a limitation of its liability, namely the claim

exposure raised by the Trustee on behalf of RDC.




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         53.         Based on the information presently available, the Trustee believes the fourth

Iridium factor weighs in favor of approval of the Amended Settlement Agreement or is, at worst,

neutral.

               (v)    The Trustee’s Counsel and the Court Are Experienced, Knowledgeable,
                      and Fully Competent to Determine that the Amended Settlement
                      Agreement Is in the Best Interest of the Estate.

         54.         The fifth Iridium factor is “the competency and experience of counsel supporting

the settlement and the experience and knowledge of the bankruptcy court judge reviewing the

settlement.” Id. Here, the Trustee’s counsel and the Court are significantly experienced and

knowledgeable and, therefore, fully competent to determine that the Amended Settlement

Agreement is in the best interest of the estate.

         55.         Harter Secrest & Emery LLP (“HSE”) represents RDC in the Coverage Action

and has years of experience litigating complex insurance coverage issues. HSE successfully

pursued a motion to amend the complaint after the Petition Date, which allowed RDC to recover

substantial costs that are reflected in the negotiated settlement.

         56.         Pachulski Stang Ziehl & Jones LLP (“PSZJ”) represents the Trustee and has

extensive experience with bankruptcy issues and complex litigation relating to bankruptcies.

Both HSE and PSZJ participated in the mediation and related negotiations with Hiscox that led

to the Amended Settlement Agreement and both firms believe that the settlement is reasonable

and beneficial to the estate.

         57.         In addition to experienced counsel, the Bankruptcy Court is familiar with the

Policy and the complexity of coverage issues based on extensive prior briefing and hearings, as

well as briefing related to Doud’s motion for relief from stay. See, e.g., Docket Nos. 922, 948,

1174, 1238, 1240, and 1303.



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         58.          For the foregoing reasons, the fifth Iridium factor strongly supports approval of

the Amended Settlement Agreement.

               (vi)     The Amended Settlement Agreement Does Not Release Any Officer or
                        Director, or Compromise the Independent Rights of Any Officer or
                        Director of the Debtor.

         59.          The sixth Iridium factor is “the nature and breadth of releases to be obtained by

officers and directors.” Id. The Amended Settlement Agreement releases Hiscox from known

and unknown claims arising from or related to the Released Claims. Under the Amended

Settlement Agreement, no officer or director is obtaining a release.

         60.          The Amended Settlement Agreement does not bar all further claims under the

Policy, including, for example, claims by the Objecting Directors. It is only an agreement

between the Parties and a compromise of their respective rights under the Policy. The Trustee,

on behalf of the estate, is not waiving, reducing, or eliminating any independent claims that may

continue to exist by or between other insureds and Hiscox, or between RDC and its insiders,

officers, or directors.

         61.          Accordingly, the sixth Iridium factor supports approval of the Amended

Settlement Agreement.

               (vii) The Amended Settlement Agreement Is the Product of Arms-length
                     Negotiation.

         62.          The seventh, and final, Iridium factor is “the extent to which the settlement is the

product of arm’s length bargaining.” Id. The Amended Settlement Agreement is plainly a

product of hard fought negotiations and arm’s length bargaining.

         63.          In addition to the aforementioned counsel representing the Debtor and Trustee,

Hiscox was represented in the Coverage Action by Wilson, Elser, Moskowitz, Edelman &

Dicker, LLP, which like RDC’s coverage counsel, has years of experience litigating complex


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insurance coverage issues. Hiscox and the Trustee are litigation adversaries and do not suffer

any conflicts of interest.

         64.      For these reasons, the final Iridium factor strongly supports approval of the

Amended Settlement Agreement.

                                             SUMMARY

         65.      For all the foregoing reasons, the proposed Amended Settlement Agreement far

exceeds the lowest point in the range of reasonableness under the Iridium factors and has been

renegotiated to address concerns raised by the Objecting Directors. The Amended Settlement

Agreement resolves all issues between the Trustee and Hiscox, prevents what could otherwise be

long and protracted litigation, and is in the best interests of creditors and the estate. Accordingly,

the Trustee respectfully submits that the Amended Settlement Agreement is a fair and reasonable

resolution of the litigation against Hiscox, and should be approved by this Court.

                                       NOTICE OF MOTION

         66.      Notice of this Motion will be served on (i) the Office of the United States Trustee

by ECF, (ii) counsel for Hiscox, (iii) counsel for the Objecting Directors, and (iv) all parties that

have filed a request for service of papers under Bankruptcy Rule 2002, including Doud.




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                                        CONCLUSION

         WHEREFORE, the Trustee respectfully requests that the Court enter an order (i)

approving the Amended Settlement Agreement in its entirety, (ii) authorizing the Parties to take

all actions necessary or appropriate to effectuate the Amended Settlement Agreement, and (iii)

granting such other and further relief that the Court deems appropriate.

 Date: January 5, 2022                       PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ Ilan D. Scharf
                                             Ilan D. Scharf (NY Bar No. 4042107)
                                             Jason S. Pomerantz
                                             Gail S. Greenwood
                                             780 Third Avenue, 34th Floor
                                             New York, NY 10017
                                             Telephone: (212) 561-7700
                                             Facsimile: (212) 561-7777
                                             Email: ischarf@pszjlaw.com
                                                        jpomerantz@pszjlaw.com
                                                        ggreenwood@pszjlaw.com

                                             Counsel to Advisory Trust Group, LLC, in its
                                             capacity as Trustee of the RDC Liquidating Trust




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